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   12
                               UNITED STATES DISTRICT COURT
   13
                             CENTRAL DISTRICT OF CALIFORNIA
   14
                                      WESTERN DIVISION
   15

   16   COLUMBIA PICTURES INDUSTRIES,             Case No. 2:20-cv-03129-JAK-GJS
        INC.; AMAZON CONTENT
   17   SERVICES, LLC; DISNEY                     PLAINTIFFS’ NOTICE OF
        ENTERPRISES, INC.; PARAMOUNT              MOTION AND MOTION FOR
   18   PICTURES CORPORATION;                     PRELIMINARY INJUNCTION;
        WARNER BROS. ENTERTAINMENT                MEMORANDUM OF POINTS AND
   19   INC.; UNIVERSAL CITY STUDIOS              AUTHORITIES IN SUPPORT
        PRODUCTIONS LLLP; UNIVERSAL               THEREOF
   20   TELEVISION LLC; and UNIVERSAL
        CONTENT PRODUCTIONS LLC,                  Judge: Hon. John A. Kronstadt
   21
                                    Plaintiffs,   Date: May 11, 2020
   22                                             Time: 8:30 a.m.
              v.                                  Courtroom: 10B
   23
      ALEJANDRO GALINDO and DOES 1- Filed concurrently herewith:
   24 20,                           (1) Declaration of Kevin Plumb
                                    (2) Declaration of Jan Van Voorn
   25                  Defendants.  (3) Declaration of Sean Jaquez
                                    (4) Declaration of Julie Shepard
   26                               (5) [Proposed] Preliminary Injunction

   27                                             Trial Date: None Set

   28

                      NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         PLEASE TAKE NOTICE that on May 11, 2020, at 8:30 a.m., or as soon
    3   thereafter as counsel may be heard,1 before the Honorable John A. Kronstadt, in
    4   Courtroom 10B of the United States District Court for the Central District of
    5   California, located at First Street Courthouse, 350 W. First Street, Los Angeles,
    6   California 90012, Plaintiffs Columbia Pictures Industries, Inc., Amazon Content
    7   Services, LLC, Disney Enterprises, Inc., Paramount Pictures Corporation, Warner
    8   Bros. Entertainment, Inc., Universal Studios Productions LLLP, Universal
    9   Television LLC, and Universal Content Productions LLC (collectively, “Plaintiffs”)
   10   will and hereby do move for a Preliminary Injunction:
   11         (i)    enjoining Defendant Alejandro Galindo (“Galindo” or “Defendant”),
   12                and all individuals acting in concert or participation or privity with him,
   13                from publicly performing, reproducing, distributing, or otherwise
   14                infringing in any manner (including without limitation by materially
   15                contributing to or intentionally inducing the infringement of) any right
   16                under the Copyright Act in any of their copyrighted works, including
   17                without limitation by publicly performing or reproducing those Works,
   18                or by distributing any software or providing any service or device that
   19                does or facilitates any of the foregoing acts; and
   20         (ii)   enjoining    the   respective    domain     name     registrars   for   the
   21                TekkHosting.com and NitroIPTV.com domain names from allowing
   22                these domains to be modified, sold, transferred to another owner, or
   23
        1
          Plaintiffs have commenced this action and served this Motion to put Defendants
   24
        on notice of their claims and to seek preliminary injunctive relief from the Court
   25   pending adjudication of those claims. However, without waiver or prejudice as to
        their assertion that the requested preliminary relief is necessary to prevent
   26
        irreparable harm to their intellectual property rights, Plaintiffs defer to the Court as
   27   to the proper time at which this Motion may be heard in light of the exigent
        circumstances and limitations on judicial resources created by the current COVID-
   28
        19 public health emergency.
                                                   i
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    1                deleted, and also requiring them to disable access to TekkHosting.com
    2                and NitroIPTV.com.
    3         This Motion is based upon this Notice of Motion and Motion; the attached
    4   Memorandum of Points and Authorities; the Declarations of Kevin Plumb (“Plumb
    5   Decl.”), Jan van Voorn (“Van Voorn Decl.”), Sean Jaquez (“Jaquez Decl.”), and
    6   Julie Shepard (“Shepard Decl.”) and Exhibits thereto; all documents on file in this
    7   action; and such further or additional evidence or argument as may be presented
    8   before or at the time of the hearing on this Motion.
    9

   10   Dated: April 3, 2020                   JENNER & BLOCK LLP
   11

   12
                                          By: /s/ Julie Shepard
                                              Julie Shepard
   13                                         Attorneys for Plaintiffs
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     1               MEMORANDUM OF POINTS AND AUTHORITIES
     2                                I.    INTRODUCTION
     3         Defendant Alejandro Galindo (“Defendant” or “Galindo”) owns and operates
     4   Nitro TV, an unauthorized online streaming service engaged in mass-scale copyright
     5   infringement on an ongoing basis. Defendant’s service offers a collection of
     6   thousands of live and title-curated television channels illegally streamed on Nitro
     7   TV twenty-four hours a day, seven days a week, throughout the United States and
     8   abroad, to anyone willing to pay a $20 per-month subscription fee. The channels
     9   made available without authorization on Nitro TV feature many of the world’s most
    10   popular television programs and motion pictures such as The Office, Spider-Man:
    11   Homecoming, Frozen 2, Star Trek Beyond, Homecoming, and Joker, including
    12   works whose copyrights Plaintiffs own or exclusively control (“Copyrighted
    13   Works”) and which are being streamed without their authority.
    14         In short, Nitro TV is an illegal commercial enterprise designed, architected,
    15   and operated by Defendant to profit from the infringement of Plaintiffs’ Copyrighted
    16   Works. Moreover, to broaden the reach of Nitro TV and increase the ill-gotten profits
    17   derived from this infringing service, Defendant has developed a rapidly growing
    18   network of resellers who sell and aggressively market subscriptions to Nitro TV.2
    19         Nitro TV inflicts irreparable harm on Plaintiffs’ businesses by eroding the
    20   legitimate marketplace for access to Plaintiffs’ Copyrighted Works. That harm has
    21   intensified with the recent expansion of Defendant’s illicit operations. Plaintiffs
    22   request a preliminary injunction be entered enjoining further infringement of their
    23   Copyrighted Works by Defendant and those acting in concert with him.
    24         The elements necessary for entry of a preliminary injunction are easily met
    25
         2
        This increase in Nitro TV resellers appears to coincide with Plaintiffs’ successful
    26
       action in this Court to stop another infringing streaming service, resulting in that
    27 service being permanently enjoined in the fall of 2019. See Paramount Pictures
       Corp., et al. v. Omniverse World Television, Inc., No. 2:19-cv-01156-DMG-PJWx,
    28
       Dkt. 60 (C.D. Cal. November 14, 2019); see also Van Voorn Decl., ¶¶ 5, 34, 47.
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     1   here. First, Plaintiffs are likely to succeed on the merits because Defendant operates
     2   Nitro TV in blatant violation of Plaintiffs’ exclusive public performance and
     3   reproduction rights in the Copyrighted Works. See Section III.A.1, infra. And, to the
     4   extent Defendant may claim he is only facilitating access to infringing streams
     5   originating from third parties, he remains secondarily liable for infringement. See
     6   Section III.A.2, infra. In both cases, Defendant’s actions constitute infringement.
     7         Second, the balance of hardships sharply tips in Plaintiffs’ favor and issuing
     8   an injunction would be in the public interest. The ongoing and threatened harms
     9   suffered by Plaintiffs are irreparable, and outweigh the harm, if any, that may result
    10   from enjoining Defendant’s transparently illegal business operation. See Section
    11   III.B, infra. An injunction is also in the public interest, which favors the protection
    12   of copyright interests against illicit commercial exploitation. See Section III.C, infra.
    13         Plaintiffs respectfully request the Court issue the proposed preliminary
    14   injunction enjoining Defendant, and those acting in concert with him, from further
    15   infringing Plaintiffs’ Copyrighted Works, and freezing the transfer of the identified
    16   domain names instrumental in propagating Defendant’s infringing service.
    17                         II.   FACTUAL BACKGROUND
    18   A.    Plaintiffs And Their Copyrighted Works
    19         Plaintiffs, either directly or indirectly through their affiliates, produce and
    20   distribute a significant portion of the world’s most popular television programs and
    21   motion pictures. Jaquez Decl., ¶ 14. They also own or hold the exclusive U.S. rights
    22   (among others) to reproduce, distribute, and publicly perform the Copyrighted
    23   Works, including by means of streaming those works over the Internet to the public.
    24   Declaration Sean Jaquez (“Jaquez Decl.”), ¶¶ 4-10, 17, 21, 37-38; Declaration of Jan
    25   van Voorn (“Van Voorn Decl.”), Ex. 16.
    26         Plaintiffs, either directly or indirectly through their affiliates, authorize the
    27   legitimate distribution and public performance of the Copyrighted Works in various
    28   formats and through multiple distribution channels, including through cable and
                                                 2
                                  MOTION FOR PRELIMINARY INJUNCTION
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     1   direct-to-home satellite services, through authorized Internet video-on-demand
     2   (“VOD”) services, and through authorized Internet or over-the-top (“OTT”)
     3   streaming services, among other distribution channels. Jaquez Decl., ¶¶ 4, 6.
     4         Plaintiffs have invested and continue to invest substantial resources and effort
     5   each year to develop, produce, distribute, and publicly perform Plaintiffs’
     6   Copyrighted Works. Jaquez Decl., ¶ 5. Plaintiffs also expend considerable effort and
     7   resources to address the unlawful infringement of their Copyrighted Works,
     8 including by bringing lawsuits against infringing parties. See Jaquez Decl., ¶ 12.
     9 B.    Defendant’s Infringing IPTV Service
    10         Defendant Galindo—in concert with other individuals—owns and operates
    11   the Internet Protocol television (“IPTV”) service commonly referred to as Nitro TV.
    12   Declaration of Kevin Plumb (“Plumb Decl.”), Exs. 1-9; Van Voorn Decl., ¶¶ 9-11,
    13   Ex. 10. In exchange for subscription fees, Nitro TV subscribers are provided
    14   unauthorized access to an array of thousands of live and title-curated television
    15   channels that are streamed twenty-four hours a day, seven days a week on the web-
    16   based Nitro TV platform as well as the Nitro TV application for use on mobile
    17   phones and smart TVs (collectively the “Nitro TV Platforms”). Van Voorn Decl., ¶¶
    18   20-23. Thousands of hours of copyrighted content, including Plaintiffs’ Copyrighted
    19   Works, are made available to Nitro TV subscribers daily via Nitro TV, without
    20   authorization from the relevant copyright holders. Jaquez Decl., ¶¶ 13-14; Van
    21   Voorn Decl., ¶¶ 7, 19, 29, Ex. 16.
    22         To market and promote the Nitro TV Platforms and the availability of
    23   subscriptions, Galindo created and acted as an administrator of the Nitro TV Official
    24   Facebook group, www.facebook.com/groups/Nitroiptv/ (“Nitro TV Facebook
    25   Group”). Plumb Decl., ¶¶ 6-7, Ex. 1. Among other things, as reflected in the
    26   following post, Galindo used the Nitro TV Facebook Group to: inform subscribers
    27   of Nitro TV’s new channels and program offerings; provide subscribers updates
    28   about the Nitro TV Platforms; and invite subscribers to request TV shows they
                                               3
                                 MOTION FOR PRELIMINARY INJUNCTION
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     1   wanted added to Nitro TV. Plumb Decl., ¶¶ 8-9, Ex. 3.3
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    15         Galindo has also used the Nitro TV Facebook Group as a vehicle to advise
    16 subscribers how to hide their infringing activity. Plumb Decl., ¶ 10, Ex. 6.
    17 C.    How Nitro TV Works
    18         The website TekkHosting.com is part of Nitro TV’s “back-end” support; it is
    19   the primary interface through which users receive access credentials to the Nitro TV
    20   Platforms and receive answers to technical questions about the infringing service.
    21   Van Voorn Decl., ¶¶ 17-18, 20-21, Exs. 12, 13, 14; Plumb Decl., Exs. 3, 9. To obtain
    22   credentials allowing access to the Nitro TV Platforms, a subscriber must either
    23   purchase a subscription directly through TekkHosting.com,4 or from a Nitro TV
    24   reseller who has purchased so-called Nitro TekkHosting Reseller Credits through
    25
         3
         Plaintiffs only became aware of the infringing Nitro TV service, which Galindo
    26
       apparently started in 2017, long after this post by Galindo, which was located during
    27 the course of investigating the Nitro TV service. Van Voorn Decl., ¶ 8, n.1.
       4
         At times, the Nitro TV service on-boarded new subscribers through the use of other
    28
       domain names, such as NitroIPTV.com. Plumb Decl., ¶ 12, Exs. 1, 6 and 9.
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     1   TekkHosting.com, as explained further below. Van Voorn Decl., ¶¶ 17-18, 20-21,
     2   30, Exs. 12, 17; Plumb Decl., Exs. 3, 9; see Section II.D, infra.5
     3         Nitro TV subscriptions typically sell for $20 per month for two devices. Van
     4   Voorn Decl., ¶ 18. Upon paying the monthly subscription fee, a new subscriber
     5   receives an email within approximately 24 hours providing Nitro TV credentials and
     6   a link to the Nitro TV application (the “App”) for them to download onto one or
     7   more devices (e.g., laptop or Android phone). Van Voorn Decl., ¶¶ 20-21. Upon
     8   downloading the App and launching one of the Nitro TV Platforms, Nitro TV
     9   subscribers have been greeted by the message: “Enjoy the best television channels
    10   with the best IPTV App!” Van Voorn Decl., ¶ 22, Ex. 15. And, as reflected by the
    11   screenshot below, they are provided with an organized and user-friendly interface
    12   through which they are able to stream thousands of live and title-curated television
    13   channels. Van Voorn Decl., ¶¶ 22-28.
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    26   5
        These sales include transactions with Nitro TV resellers and subscribers located in
    27 California, who are able to watch Nitro TV in California. Van Voorn Decl., ¶¶ 19,
       32. Galindo has also transacted business with California companies, such as
    28
       Facebook, in the promotion and marketing of Nitro TV. Plumb Decl., Exs. 1-8.
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     1         The copyrighted content streamed and reproduced without authorization on
     2   the Nitro TV Platforms includes numerous Copyrighted Works of Plaintiffs, such as
     3   The Office, Spider-Man: Homecoming, Toy Story 3, Star Trek Beyond,
     4 Homecoming, and Joker. Van Voorn Decl., ¶ 29, Ex. 16.
     5 D.  Defendant’s Growing Reseller Network
     6         Defendant has expanded the scope of the Nitro TV unlawful commercial
     7   enterprise by creating and growing a network of resellers who market and promote
     8   Nitro TV to attract new subscribers to the illegal service. Van Voorn Decl., ¶ 30, Ex.
     9   17. These resellers buy “TekkHosting Nitro Reseller Credits” that may be exchanged
    10   for Nitro TV subscriber credentials and, in turn, they market and sell Nitro TV
    11   subscriptions. Id. Volume discounts incentivize resellers to buy large quantities of
    12   credits and boost their subscription sales. Id., ¶ 31, Ex. 17.
    13         Nitro TV resellers have promoted Nitro TV as a substitute for authorized and
    14   licensed distributors (e.g., cable television providers, OTT streaming services). Van
    15   Voorn Decl., ¶ 33, Ex. 19. For example, Nitro TV is marketed as “simply the best
    16   and most reliable streaming service on the market, featuring over 2,500 HD
    17   streams.” Shepard Decl., ¶ 4, Ex. 29. Users can access “NFL, NHL, MLB, NBA,
    18   Soccer, UFC & PPV,” “24/7 Channels and Premium Movies,” “US Regionals,”
    19   “Fitness, Music, Latino, Spanish, and more!” Id, Ex. 30.
    20         Defendant’s network of resellers appears to be rapidly growing in part due to
    21   Plaintiffs’ enforcement actions against other similar illegal services. For example, in
    22   the last few months, Plaintiffs obtained a permanent injunction against Omniverse,
    23   another infringing IPTV service. See Omniverse, No. 2:19-cv-01156-DMG-PJWx,
    24   Dkt. 60.6 More than 25 new Nitro TV reseller websites have appeared since around
    25

    26   6
         Before Omniverse, Plaintiffs obtained permanent injunction against Setvnow
    27 (hereinafted, “Set TV Now”), yet another illicit service similar to Nitro TV. See
       Amazon Content Servs., LLC v. Set Broad., LLC, No. 2:18-cv-03325-MWF-AS, Dkt.
    28
       59 (C.D. Cal. July 31, 2019).
                                              6
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     1   the time this injunction issued, apparently to address the vacuum for services in this
     2   illicit market created by the Omniverse shutdown. Van Voorn Decl., ¶ 34.
     3         Nitro TV is well-positioned to continue to receive an influx of new subscribers
     4   now that Omniverse and Set TV Now have been shuttered. Indeed, the recent
     5   increase in Nitro TV resellers appears to be linked to these changed market
     6   conditions and provides further support for the need for immediate relief. Each Nitro
     7   TV reseller substantially increases the size of Defendant’s infringing enterprise.
     8   Indeed, one reseller recently boasted about the success of his reselling efforts: “Over
     9   45,000 customers activated in the last 12 months.” Shepard Decl., ¶ 4, Ex. 28.
    10                                   III.   ARGUMENT
    11         The Copyright Act authorizes courts to grant injunctive relief “to prevent or
    12   restrain infringement of a copyright.” 17 U.S.C. § 502(a). A preliminary injunction
    13   is called for here as Plaintiffs have established: (1) they are likely to succeed on the
    14   merits of their claims for copyright infringement; (2) they will suffer irreparable
    15   harm absent injunctive relief; (3) the balance of hardships tips in their favor; and (4)
    16   injunctive relief is in the public interest. See A&M Records, Inc. v. Napster, Inc., 239
    17 F.3d 1004, 1013 (9th Cir. 2001).
    18 A.    Plaintiffs Are Likely To Succeed On The Merits.
    19         1.     Defendant Directly Infringes Plaintiffs’ Copyrighted Works.
    20         Plaintiffs will succeed on the merits of their direct infringement claim because
    21   they easily establish the elements of direct infringement. Plaintiffs (1) “show
    22   ownership” of the Copyrighted Works;7 and (2) demonstrate Defendant’s violation
    23   of “at least one exclusive right granted to copyright holders,” Napster, 239 F.3d at
    24   1013. Specifically, Defendant is violating two of Plaintiffs’ exclusive rights: the
    25

    26   7
        With respect to their copyright ownership, Plaintiffs have filed herewith certificates
    27 of registration issued by the Copyright Office for the Copyrighted Works identified
       in the Complaint. Van Voorn Decl., ¶ 16. The certificates create a presumption of
    28
       copyright validity and ownership. 17 U.S.C. § 410(c).
                                                7
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     1   right to publicly perform and the right to reproduce Plaintiff’s Copyrighted Works.
     2   Each violation alone is sufficient to support the requested injunctive relief. Id.
     3                (a)    Defendant Publicly Performs Plaintiffs’ Copyrighted Works.
     4         Plaintiffs have the exclusive right, among others, “to perform” the
     5   Copyrighted Works “publicly.” 17 U.S.C. § 106(4). A party performs a work
     6   publicly when it “transmit[s] or otherwise communicate[s] a performance . . . of the
     7   work . . . to the public, by means of any device or process, whether the members of
     8   the public capable of receiving the performance . . . receive it in the same place or
     9   in separate places and at the same time or at different times.” Id. § 101(2) (definition
    10   of “[t]o perform . . . a work ‘publicly’”).
    11         The streaming of copyrighted works over the Internet without the copyright
    12   holder’s authorization violates the copyright holder’s public performance right. See,
    13   e.g., Am. Broad. Companies, Inc. v. Aereo, Inc., 573 U.S. 431, 431 (2014) (finding
    14   Internet streaming constitutes public performance) (“Aereo”); Warner Bros. Entm’t
    15   Inc. v. WTV Sys., Inc., 824 F. Supp. 2d 1003, 1006-07, 1010-11 (C.D. Cal. 2011)
    16   (holding service violated public performance right by streaming contents of DVDs
    17   from DVD players purportedly assigned to individual users).
    18         Where—as here—the electronic transmission of a work involves a technical
    19   process, the public performance of that work includes each step in that process. For
    20   example, in National Football League v. PrimeTime 24 Joint Venture, the defendant
    21   captured protected content in the United States, and transmitted it from the United
    22   States to a satellite and from the satellite to the public in Canada. 211 F.3d 10, 11
    23   (2d Cir. 2000). The defendant argued that the uplink transmission to the satellite was
    24   not a public performance, notwithstanding that the signal it captured was eventually
    25   transmitted to the public. See id. The court rejected that argument, holding “a public
    26   performance . . . includes ‘each step in the process by which a protected work wends
    27   its way to its audience,’” which included the defendants’ satellite uplink of the
    28   copyrighted content that was ultimately broadcast to the public. Id. at 12 (citation
                                                 8
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     1   omitted); see also Aereo, 573 U.S. 431, 446-48 (rejecting defendant’s claim that its
     2   technical design, which used an individual antenna to make a separate transmission
     3   path to each user, made the performances private rather than public; noting
     4   subscribers would not “care much” about the service’s technical design).
     5         The transmission of Plaintiffs’ Copyrighted Works via the Internet on the
     6   Nitro TV Platforms without Plaintiffs’ authorization clearly violates Plaintiffs’
     7   exclusive public performance right. See, e.g., Aereo, 573 U.S. 431, 449-51; Disney
     8   Enterprises, Inc. v. VidAngel, Inc., 224 F. Supp. 3d 957, 970-71 (C.D. Cal. 2016),
     9   aff’d, 869 F.3d 848 (9th Cir. 2017) (affirming that streaming edited versions of
    10   motion pictures constituted “publicly performing” the movies); Universal City
    11   Studios Prods. LLLP v. TickBox TV LLC, No. CV 17-7496-MWF (ASX), 2018 WL
    12   1568698, at *9 (C.D. Cal. Jan. 30, 2018) (“Broadcasting copyrighted video content
    13   to the public over the internet without authorization infringes upon the copyright
    14   owner’s public performance right.”); Fox Television Stations, Inc. v. BarryDriller
    15   Content Sys., PLC, 915 F. Supp. 2d 1138, 1151 (C.D. Cal. 2012) (granting
    16   preliminary injunction to enjoin defendant streaming service from “retransmitting,
    17   streaming, or otherwise publicly performing” plaintiffs’ copyrighted works).8
    18                (b)   Defendant Reproduces Plaintiffs’ Copyrighted Works.
    19         Plaintiffs have the exclusive right “to reproduce” their works, 17 U.S.C.
    20   § 106(1), which includes the right to create digital copies. See, e.g., MAI Sys. Corp.
    21   v. Peak Computer, Inc., 991 F.2d 511, 518 (9th Cir. 1993) (transferring digital work
    22

    23
         8
           The Van Voorn and Shepard Declarations, and attached Exhibits, establish that
    24
         Plaintiffs’ Copyrighted Works are being streamed on Nitro TV. See Arista Records
    25   LLC v. Lime Group LLC, No. 06 CV 5936 (KMW), 2011 WL 1641978, at *8
         (S.D.N.Y. Apr. 29, 2011) (“Courts have consistently relied upon evidence of
    26
         downloads by a plaintiff’s investigator to establish both unauthorized copying and
    27   distribution of a plaintiff’s work.”) (collecting cases); Arista Records LLC v.
         Usenet.com, Inc., 633 F. Supp. 2d 124, 150 n.16 (S.D.N.Y. 2009) (“Courts routinely
    28
         base findings of infringement on the actions of plaintiffs’ investigators.”).
                                                  9
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     1   “from a permanent storage device to a computer’s RAM [or storage]” infringes the
     2   reproduction right).
     3         Defendant Galindo and the other operators of Nitro TV necessarily infringe
     4   Plaintiffs’ reproduction right as unauthorized copies of Plaintiffs’ Copyrighted
     5   Works must be made in the process of creating Nitro TV’s so-called “24/7” channels.
     6   These 24/7 channels are devoted exclusively to a single show or movie and
     7   continuously stream episodes of a single television series (e.g., Friends, The Office)
     8   or a single movie (e.g., Captain America: The Winter Soldier), or collection of
     9   movies (e.g, 24/7 Spider-Man movie channel), at all times of the day and night,
    10   seven days a week. Van Voorn Decl., ¶ 25. Unlike Nitro TV’s channel offerings
    11   (e.g., Disney Channel, Paramount Network, and FX) appropriated from other
    12   distributors and streamed live on Nitro TV,9 these 24/7—or title-curated—channels
    13   are not restreamed broadcast channels and must be individually constructed before
    14   they can be offered on Nitro TV. Van Voorn Decl., ¶ 26. Such construction would
    15   necessarily entail reproducing copies of the relevant television program(s) or motion
    16   picture(s) to assemble them in the order to be streamed in a continuous loop for the
    17   purpose of transmitting them nonstop to Nitro TV subscribers via the Nitro TV
    18   Platforms. Id.
    19         Similarly, digital copies of the Copyrighted Works are being made in
    20   connection with the “Catch Up” feature offered on Nitro TV. See Van Voorn Decl.,
    21   ¶ 27. Nitro TV’s “Catch Up” feature allows subscribers to watch television programs
    22   from the prior two days. Id. For example, a Nitro TV subscriber using this feature
    23   on a Monday would be shown a guide of what aired on Sunday and Saturday, and
    24   can select and watch a program that aired at 8 p.m. on either day on a specific channel
    25
         9
         Streaming live means that the programming is streamed on Nitro TV Platforms
    26
       contemporaneously with the original source of the telecast. In other words, the
    27 program airing on a television channel like the Disney Channel through an
       authorized source (e.g., a cable or satellite TV provider) is available on Nitro TV at
    28
       the same time as it is telecast on the authorized source. Van Voorn Decl., ¶ 24.
                                                  10
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     1   (e.g., Disney Channel, Paramount Network). Id. It is only possible to offer this
     2   feature by making days’ worth of copies of all programs on all channels with the
     3   Catch Up feature. Id.
     4         Such copying of Plaintiffs’ Copyrighted Works violates Plaintiffs’
     5   reproduction rights. See, e.g., Sega Enters. v. Accolade, Inc., 977 F.2d 1510, 1518
     6   (9th Cir. 1992) (“[O]n its face, [17 U.S.C. § 106(1)-(2)’s] language unambiguously
     7   encompasses and proscribes ‘intermediate copying’”); VidAngel, 224 F. Supp. 3d at
     8   969-70 (enjoining infringing service based on reproduction right violation); Tiffany
     9   Design, Inc. v. Reno–Tahoe Specialty, Inc., 55 F. Supp. 2d 1113, 1121 (D. Nev.
    10   1999) (“[T]he digitization or input of any copyrighted material, whether it be
    11   computer code or visual imagery, may support a finding of infringement
    12   notwithstanding only the briefest of existence in a computer’s RAM.”).
    13         2.     Defendant Is Liable For Secondary Infringement.
    14         Defendant Galindo is also liable under the two theories of secondary
    15   liability—contributory infringement and inducement—each of which provides an
    16   independent basis to support an injunction. Perfect 10, Inc. v. Visa Int’l Serv., Ass’n,
    17   494 F.3d 788, 795 (9th Cir. 2007).
    18                (a)    Defendant Is Liable For Knowingly And Materially
                             Contributing To Infringement.
    19
    20         Secondary liability is established under a theory of contributory infringement

    21   where the defendant “has knowledge of another’s infringement” and “materially

    22   contributes” to the infringement. VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 745

    23   (9th Cir. 2019) (citing Perfect 10, 494 F.3d at 795). Both elements are plainly

    24   satisfied here.

    25                       (i)    Defendant Has Knowledge Of Infringement.
    26         The Ninth Circuit has held defendants are liable for contributory infringement
    27   where they either have “actual knowledge of specific acts of infringement” or
    28   “[w]illful blindness of specific facts” from which infringement can be inferred. See
                                                    11
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     1   Erickson Prods., Inc. v. Kast, 921 F.3d 822, 832 (9th Cir. 2019) (citing Luvdarts,
     2   LLC v. AT & T Mobility, LLC, 710 F.3d 1068, 1072-73 (9th Cir. 2013)).10 The
     3   evidence demonstrates Galindo’s clear knowledge of, and no less than willful
     4   blindness toward, the infringement of Plaintiffs’ Copyrighted Works.
     5         Galindo clearly knows that Nitro TV is being used to infringe Plaintiffs’
     6   Copyrighted Works. Unlike the situation where content is uploaded by a service’s
     7   users, here Galindo himself has curated the television programming and channels
     8   available on Nitro TV. See Plumb Decl., Exs. 2-5 (Galindo updating Group members
     9   that Game of Thrones can be viewed on Nitro TV and that CBS channels had been
    10   added). Galindo even asked viewers what television shows they wanted him to add
    11   to Nitro TV and, significantly, the Nitro TV’s channel guide reflects that there are
    12   now 24/7 channels dedicated to each show that the viewers identified in response.
    13   Plumb Decl., Ex. 3 (Galindo asking members of the Nitro TV Facebook Group page
    14   to “[p]lease post here TV shows you want next so that we can get an idea which ones
    15   to add next” and members identifying shows); Van Voorn Decl., ¶ 13, Ex. 11.11
    16         Perhaps even more telling were Galindo’s actions after learning of a lawsuit
    17   against the similarly-infringing Set TV Now service, discussed above. Plumb Decl.,
    18   Ex. 7; Van Voorn Decl., ¶ 39.12 In the ensuing weeks after his April 2018 post
    19
         10
            The Ninth Circuit has also stated the standard differently in holding that
    20
         defendants with “constructive knowledge” of infringement (i.e., those who “know
    21   or have reason to know” infringement is taking place) are likewise liable for
         contributory infringement. Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658
    22
         F.3d 936, 943 (9th Cir. 2011); see Kast, 921 F.3d at 832 (noting but explicitly
    23   declining to address the different standards of knowledge articulated by the Ninth
         Circuit).
    24   11
            One of these channels streamed the television series while the others gave error
    25   messages. Van Voorn Decl., ¶ 13. The inability to play these other 24/7 channels
         could just have been a temporary technical issue. Id.
    26   12
            The lawsuit against the Set TV Now service is just one instance of Plaintiffs’
    27   efforts to stop the infringement of their content by bringing lawsuits against the
         distributors of products and services that—like Nitro TV—directly and/or
    28
         secondarily infringe their copyrights. See, e.g., Netflix et al. v. Dragon Media Inc. et
                                                   12
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     1   reflecting his awareness of the lawsuit, Galindo took a number of steps to hide his
     2   tracks. Plumb Decl., Ex. 7; Van Voorn Decl., ¶¶ 35-45. For example, Galindo
     3   changed the status of the Nitro Facebook TV Group used to promote and market
     4   Nitro TV, and to communicate with Nitro TV resellers, from “Closed” (which means
     5   the group and its members are publicly visible in searches) to “Secret” (which means
     6   the group remains “invisible” in searches and can be joined by invite-only) in order
     7   to further conceal the content of his posts. Plumb Decl., Ex. 7.13
     8         Defendant Galindo and those acting in concert with him also attempted to
     9   anonymize the operation of Nitro TV and their connection to this illegal enterprise.
    10   This included by (i) removing Nitro TV branding from the Nitro TV Platforms; (ii)
    11   removing public-facing statements from the TekkHosting.com website that indicate
    12   the website’s infringing use; (iii) concealing the identity of the registrant of the
    13   TekkHosting.com website from public access; and (iv) failing to register a Digital
    14   Millennium Copyright Act (“DMCA”) agent for the domains operated in connection
    15   with the TekkHosting.com and NitroIPTV.com websites. Van Voorn Decl., ¶¶ 36-
    16   45. These steps to operate anonymously in the wake of the Set TV Now case filing
    17   further reflects Galindo’s awareness of the illegality of his conduct. See Elsevier Inc.
    18   v. Stew Yee Chew, 2019 U.S. Dist. LEXIS 196, at *1 (S.D.N.Y. Jan. 2, 2019) (finding
    19   infringement was willful where the defendant “attempted to change or conceal their
    20   identities to avoid detection”); Solid Host, NL v. Namecheap, Inc., 652 F. Supp. 2d
    21   1092, 1096 (C.D. Cal. 2009), abrogated on other grounds by Petroliam Nasional
    22   Berhad v. GoDaddy.com, Inc., 737 F.3d 546 (9th Cir. 2013) (noting that services
    23   that register domain names through a proxy to allow registrants to remain
    24

    25 al., No. 2:18-cv-00230-MWF-AS, Dkt. 72 (C.D. Cal. January 29, 2020)
       (permanently enjoining infringing service); Disney Enterprises, Inc. v. VidAngel
    26
       Inc., No. 2:16-cv-04109-AB-PLA, Dkt. 520 (C.D. Cal. Sept. 5, 2019) (permanently
    27 enjoining infringing service); TickBox, 2018 WL 1568698, at *15 (preliminarily
       enjoining infringing service).
    28 13
          See “Using Facebook Groups,” lifewire.com/facebook-groups-4103720.
                                               13
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     1   anonymous “[n]aturally . . . appeal to registrants who wish to conceal their identities
     2   for illegitimate purposes”).
     3         At minimum, Defendant has evinced “willful blindness” to the direct
     4   infringement facilitated by his Nitro TV service. Luvdarts, 710 F.3d at 1073
     5   (“Willful blindness of specific facts would establish knowledge for contributory
     6   liability.”). Indeed, as noted above, Defendant systematically amassed thousands of
     7   live and title-curated television channels, including the Disney Channel, Paramount
     8   Network, and multiple ABC, NBC, CBS, and FOX channels from around the United
     9   States, many of which feature Plaintiffs’ Copyrighted Works. Plumb Decl., Exs. 1-
    10   7; Van Voorn Decl., ¶¶ 6, 23-29, Exs. 11, 16. Defendant sells access to this vast
    11   array of channels on Nitro TV without authorization for $20 month – a figure so
    12   incongruous with market rates (Van Voorn Decl. ¶¶ 18, 31; Shepard Decl.¶3, Ex.
    13   27) that it shows that Galindo necessarily knows, or is deliberately and willfully
    14   blind to the fact, that third parties are infringing Plaintiffs’ copyrights by transmitting
    15   them without authorization. See, e.g., Unicolors, Inc. v. Urban Outfitters, Inc., 853
    16   F.3d 980, 991 (9th Cir. 2017) (holding defendants’ apparent failure to make any
    17   meaningful “attempt to check or inquire into” whether plaintiffs had authorized third
    18   party’s use of plaintiff’s copyrighted works was more than “sufficient evidence of
    19   willful infringement”); see also Screen Gems–Columbia Music, Inc. v. Mark–Fi
    20   Records, Inc., 256 F. Supp. 399, 404 (S.D.N.Y. 1966) (denying summary judgment
    21   where the defendants were dealing with counterfeit musical records priced “so
    22   suspiciously below the usual market price” that it “served as notice of the illicit
    23   operation” as defendants must have known or “deliberately closed [their] eyes” to
    24   the fact that the records were infringing). This fact shows at the very least Galindo’s
    25   willful blindness towards the infringement of Plaintiffs’ Copyrighted Works.
    26         In short, Plaintiffs have shown Galindo has the requisite knowledge of the
    27   infringement of Plaintiffs’ Copyrighted Works.
    28
                                                     14
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     1                       (ii)    Defendant Materially Contributes To Infringement.
     2         A “material contribution” is found where a defendant “substantially assists
     3   . . . a worldwide audience of users to access infringing materials.” Perfect 10, Inc. v.
     4   Amazon.com, Inc., 508 F.3d 1146, 1172 (9th Cir. 2007). Defendant has done
     5   precisely this by architecting and operating the Nitro TV Platforms, as well as by
     6   designing and managing the distribution channels that provide access to the Nitro
     7   TV Platforms, all with the goal of growing the subscriber base accessing infringing
     8   content to be as large as possible. See, e.g., Napster, 239 F.3d at 1022-23; Fonovisa,
     9   Inc. v. Cherry Auction, Inc., 76 F.3d 259, 264 (9th Cir. 1996) (“[P]roviding the site
    10   and facilities for known infringing activity is sufficient to establish contributory
    11   liability.”). This conduct more than meets the threshold of a “material contribution”
    12   necessary for a claim of contributory infringement. Perfect 10, 508 F.3d at 1172.
    13         Indeed, the Ninth Circuit has held that a “material contribution” occurs where
    14   a defendant with knowledge of infringement “can take simple measures to prevent
    15   further damage to copyrighted works,” but instead “continues to provide access to
    16   infringing works.” Id. Here, Defendant is not merely failing to take steps to minimize
    17   the infringement taking place on Nitro TV. Rather, he and his fellow Nitro TV
    18   operators have actively architected Nitro TV to serve as a hub of mass infringement,
    19   including by actively curating the thousands of hours of unauthorized copyrighted
    20   content streamed daily, and putting in place a network of resellers to further
    21   disseminate that content. Van Voorn Decl., ¶¶ 6, 17-28, 30-34, 47; see also Section
    22   II.B-D, supra. Defendant could, at any time, remove subscribers’ access to the
    23   infringing channels; his decision instead to add and promote the availability of this
    24   infringing content on Nitro TV plainly constitutes a material contribution to the
    25   mass-scale infringement at issue. Plumb Decl., Exs. 1-7; Van Voorn Decl., ¶¶ 12-
    26   15.
    27

    28
                                                   15
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     1                (b)    Defendant Is Liable For Inducing Infringement.
     2         Defendant’s conduct likewise gives rise to secondary liability under a theory
     3   of inducement. The Ninth Circuit has articulated the inducement theory as requiring
     4   the following elements: (i) “distribution of a device or product,” which is satisfied
     5   where a defendant “provid[es] some service used in accomplishing the
     6   infringement”; (ii) “acts of infringement” of a third party; (iii) “an object [of the
     7   defendant] of promoting [the device’s or product’s] use to infringe copyright”; and
     8   (iv) “causation.” Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1032 (9th
     9   Cir. 2013) (citing Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S.
    10   913, 930 (2005)).
    11                       (i)     Defendant Distributes An Infringing Service.
    12
               Here, the first two inducement prongs require little discussion. Nitro TV is a
    13
         “service used in accomplishing the infringement,” and “acts of infringement” are
    14
         clearly taking place. Fung, 710 F.3d at 1032, 1033; see Section III.A.1, supra. The
    15
         unauthorized streaming of copyrighted content on the Nitro TV Platforms constitutes
    16
         ongoing infringement on a massive scale, and Defendant provides access to this
    17
         infringing service by distributing Nitro TV credentials to subscribers directly and
    18
         through his reseller network. See Section II.B-D, supra.
    19
                             (ii)    Defendant Acts with the Object To Promote
    20                               Infringement.
    21         Next, Defendant is clearly acting “with the object of promoting [Nitro TV’s]
    22   use to infringe copyright,” as shown both “by [his] clear expression” and his “other
    23   affirmative steps taken to foster infringement.” Grokster, 545 U.S. at 936-37; see
    24   also Fung, 710 F.3d at 1034.
    25         Of particular importance are promotional statements reflecting that the
    26   Defendant’s purpose is to promote infringement. Grokster, 545 U.S. at 937 (“The
    27   classic instance of inducement is by advertisement or solicitation that broadcasts a
    28   message designed to stimulate others to commit violations.”); see also Fung, 710
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     1   F.3d at 1034-35. Here, Defendant incentivized his reseller network to sell more
     2   subscriptions to his illegal service by promoting volume discounts. Van Voorn Decl.,
     3   ¶¶ 30-31, Ex. 17. And, in addition to the marketing efforts performed by these
     4   resellers, Defendant promoted the availability of copyrighted content on Nitro TV
     5   via the Nitro TV Facebook Group that he created and administered. For example, as
     6   evidenced by Galindo’s posts before making the Group “secret,” he announced:
     7              The addition of popular channels with copyrighted television
     8                programming, Plumb Decl., Ex. 4 (announcing the addition of three
     9                CBS channels to the local channels already available on Nitro TV);
    10              The availability of Game of Thrones on a VOD basis, id., Ex. 3; and
    11              The addition of 24/7 channels, id., Ex. 2.
    12         Further, as previously noted, Galindo also asked subscribers to identify the
    13   television programs they wanted him to add to Nitro TV’s channel lineup, and it
    14   appears that he added these programs as there are now 24/7 channels dedicated to
    15   each show that the viewers identified in response. Plumb Decl., Ex. 3; Van Voorn
    16   Decl., ¶ 13, Ex. 11. Defendant’s actions are akin to the Grokster defendants who
    17   “respond[ed] affirmatively to requests for help in locating and playing copyrighted
    18   materials.” Grokster, 545 U.S. at 938; see also Fung, 710 F.3d at 1036 (noting in
    19   connection with a finding of defendant’s intent to promote infringement that the
    20   “record is replete with instances of Fung responding personally to queries for
    21   assistance in: uploading torrent files corresponding to obviously copyrighted
    22   material, finding particular copyrighted movies and television shows, getting pirated
    23   material to play properly, and burning the infringing content onto DVDs for
    24   playback on televisions.”) (emphasis added).
    25         Galindo also used the Nitro TV Facebook Group page to post advice to Nitro
    26   TV subscribers on how to access restricted content by hiding their true locations
    27   from detection when using Nitro TV, allowing such subscribers to thereby
    28   circumvent anti-piracy protections and evade a court order implemented by Internet
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     1   service providers in the United Kingdom. Plumb Decl., ¶ 10, Ex. 6. Galindo’s
     2   assistance in this regard further reflects his intent to promote infringement. See Fung,
     3   710 F.3d at 1036 (noting the defendant helped getting “pirated material to play
     4   properly”).
     5         Defendant’s actions further confirm his intent to promote infringement.
     6   Indeed, courts have held that even a failure to take “steps to develop filtering tools
     7   or other mechanisms to diminish the infringing activity” corroborates an intent to
     8   promote infringement. Id. Here, as shown above, Defendant has done much more by
     9   affirmatively selecting the copyrighted content illegally streamed and copied in
    10   connection with offering the Nitro TV service. See also Section II.B, supra.
    11         Another corroborating factor evidencing a defendant’s infringing intent is a
    12   tie between the defendant’s profits and infringement. Fung, 710 F.3d at 1036-37. As
    13   articulated by the Ninth Circuit:
    14
               The more users who visit [Defendant] Fung’s websites and view the
    15         advertisements supplied by Fung’s business partners, the greater the
               revenues to Fung. Because “the extent of the [services’] use determines
    16         the gain to [Fung], the commercial sense of [his] enterprise turns on
               high-volume use, which the record shows is infringing.” Given both the
    17         clear expression and other affirmative steps and the supporting
               evidence, Fung’s “unlawful objective is unmistakable.”
    18

    19   Id. at 1037 (quoting Grokster, 545 U.S. at 940, 125).
    20         Similar to Fung, Defendant’s profits are driven by the volume of use of his
    21   service, specifically, the number of Nitro TV paid subscribers. As with the service
    22   in Fung, Defendant operates the infringing Nitro TV enterprise to reap as much
    23   profit as possible for Defendant and those acting in concert with him. Indeed, he has
    24   an extensive—and expanding—network of Nitro TV resellers that is used to grow
    25   the Nitro TV subscriber base and subscription revenues. Van Voorn Decl., ¶ 30-34.
    26   To attract and maintain paid subscribers, the resellers—like Defendant—promote
    27   the copyrighted television programming available on Nitro TV. Id., ¶ 33, Ex. 19;
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     1   Shepard Decl., ¶ 4, Exs. 28-30. Defendant also provides his resellers with volume
     2   discounts to incentivize them to grow the Nitro TV business. Van Voorn Decl., ¶ 31.
     3         Finally, Defendant’s intent to promote infringement is evidenced by the
     4   actions he undertook to conceal his connection with Nitro TV, as detailed above.
     5                       (iii)    Defendant Causes Infringement.
     6         The causation element is plainly satisfied based on the evidence already
     7   discussed above. Namely, Defendant and those acting in concert with him make their
     8   infringing service with thousands of hours of copyrighted content available to Nitro
     9   TV subscribers in a user-friendly manner. See Section II.C, supra. They have also
    10   actively promoted the availability of this infringing content on the Nitro TV
    11   Platforms, and developed an extensive web of resellers to market Nitro TV and
    12   expand its subscriber base. See Section II.B-D, supra. As such, Defendant has made
    13   clear his unlawful intent that the Nitro TV Platforms be used to facilitate
    14   infringement, which is all that is required to show causation. See Fung, 710 F.3d at
    15   1038 (the “causation” factor is satisfied where defendant acts with “the manifested
    16   intent that [their] service actually be used in [an infringing] manner”); see also China
    17   Cent. Television v. Create New Tech. (HK) Ltd., No. CV 15-01869-MMM-MRWX,
    18   2015 WL 3649187, at *10 (C.D. Cal. June 11, 2015) (finding the causation factor
    19   satisfied where “defendants are the but-for cause of [the] infringement, i.e., their
    20   distribution and promotion of the Infringing TV pad Apps is the mechanism that
    21 makes that infringement by a large number of users possible.”).
    22 B.   Plaintiffs Will Suffer Irreparable Harm Absent An Injunction.
    23         Courts find that a copyright holder’s harm is likely “irreparable” for many
    24   reasons, including that a particular loss is “difficult to replace,” “difficult to
    25   measure,” or of a kind “that one should not be expected to suffer.” Salinger v.
    26   Colting, 607 F.3d 68, 81 (2d Cir. 2010); see also WTV Systems, 824 F. Supp. 2d at
    27   1013 (irreparable harms are those that are “neither easily calculable, nor easily
    28   compensable”). Here, Nitro TV has already inflicted irreparable harms on Plaintiffs
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     1   and will continue to do so until it is enjoined. See, e.g., WPIX, Inc. v. ivi, Inc., 691
     2   F. 3d 275, 85-87 (2d Cir. 2012) (finding extensive irreparable harms caused by
     3   unlicensed Internet retransmissions of live television channels); BarryDriller, 915
     4   F. Supp. 2d at 1147 (same).
     5         First, Nitro TV interferes with Plaintiffs’ basic right as the copyright holders
     6   to control “when, where, to whom, and for how much they will authorize
     7   transmission of their Copyrighted Works to the public.” WTV Systems, 824 F. Supp.
     8   2d at 1012. Plaintiffs exercise their exclusive rights to license distributors and
     9   downstream services to develop and grow markets for their content, particularly in
    10   the emerging digital markets. Jaquez Decl., ¶¶ 6-10. Plaintiffs’ ability to control and
    11   carefully choreograph the exploitation of their Copyrighted Works through licensing
    12   them in different distribution channels and at different times, which is referred to as
    13   “windowing,” is the linchpin of their business. See Jaquez Decl., ¶¶ 8-9.
    14         Defendant’s business operation usurps Plaintiffs’ control over the exercise of
    15   their exclusive rights by interfering with Plaintiffs’ distribution strategies. With its
    16   user-friendly interface and expansive lineup of live and title-curated channels, Nitro
    17   TV provides many of the same OTT streaming services offered by cable and satellite
    18   providers to Nitro TV’s paid subscribers, except that it does so without copyright
    19   holder authorization.14 Defendant’s operation of the Nitro TV “infringing service
    20   without the normal licensing restrictions imposed by Plaintiffs . . . interfere[s] with
    21   Plaintiffs’ ability to control the use and transmission of their Copyrighted works,
    22   thereby, causing irreparable injury.” WTV Systems, 824 F. Supp. 2d at 1012-13
    23   (citation omitted); see also WPIX, 691 F. 3d at 85-87 (describing the litany of
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         14
         Galindo actually offers more channels than an authorized distributor because
    26
       authorized distributors only offer their local broadcast channels (e.g., ABC, CBS,
    27 and NBC). Defendant streams numerous versions of the ABC, CBS, CW, NBC, and
       FOX channels from multiple cities across the U.S. to all Nitro TV subscribers
    28
       wherever they are located. Van Voorn Decl., ¶ 23.
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     1   irreparable harms caused by unlicensed Internet retransmissions of broadcast
     2   television).
     3          Second, unless enjoined, Nitro TV will interfere with Plaintiffs’ existing
     4   relationships with legitimate online services. These legitimate services negotiate
     5   their licenses and abide by contractual restrictions. Jaquez Decl., ¶ 25. Defendant
     6   need not honor such contractual restrictions because he circumvents the licensing
     7   process altogether. This unfair competition undermines the legitimate market for
     8   content streamed over the Internet, which is a robust and growing part of the
     9   Plaintiffs’ businesses and an important option to many consumers. Id. This threatens
    10   harm to Plaintiffs’ relationships and their goodwill with authorized distributors by
    11   undermining their ability to provide licensed offerings. See, e.g., Ticketmaster L.L.C.
    12   v. RMG Techs., Inc., 507 F. Supp. 2d 1096, 1115 (C.D. Cal. 2007) (irreparable harm
    13   includes “damage to goodwill”); WTV Systems, 824 F. Supp. 2d at 1012-13 (finding
    14   unlicensed streaming “jeopardize[d] the continued existence of Plaintiffs’ licensees’
    15   businesses” and harmed plaintiffs’ goodwill with its licensees). This unfair
    16   competition also disadvantages Plaintiffs in negotiations with prospective or existing
    17   authorized distributors. See BarryDriller, 915 F. Supp. 2d at 1147 (“If Defendants
    18   can transmit Plaintiffs’ content without paying a fee, Plaintiffs’ existing and
    19   prospective licensees will demand concessions to make up the loss of viewership to
    20   non-paying alternatives . . . .”).
    21          Third, the operation of Nitro TV is contributing to consumer confusion
    22   regarding what is lawful and what is not by misleading customers into believing that
    23   the Nitro TV service is also legitimate. Jaquez Decl., ¶ 31. In this way, Nitro TV
    24   subscribers and potential subscribers may mistakenly view Nitro TV as a legal and
    25   sanctioned alternative, when it is not. This harms the market for legitimate services
    26   by drawing users away from Plaintiffs’ licensees. See WTV Systems, 824 F. Supp.
    27   2d at 1013 (finding that defendants’ service threatened “to create incorrect but
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     1   lasting impressions with consumers about what constitute[d] lawful video on
     2   demand exploitation” of copyrighted works).
     3         Fourth, the existence of the Nitro TV service harms the overall development
     4   of the on-demand streaming market “by offering a sub-optimal customer experience
     5   and, thus, tarnishing customers’ perception of video on demand as an attractive
     6   option for viewing Plaintiffs’ Copyrighted Works.” WTV Systems, 824 F. Supp. 2d
     7   at 1014. Indeed, Nitro TV has garnered user complaints regarding the functioning of
     8   the Nitro TV Platforms. Van Voorn Decl., ¶ 46, Ex. 25.
     9         The scope of foregoing harms caused by Defendant and those acting in concert
    10   with him continues to grow, as over 25 new Nitro TV resellers have been added to
    11   the Nitro TV reseller network in just the past few months. Unless the requested
    12   preliminary injunction is issued, Nitro TV—and the irreparable harm Defendant’s
    13   infringement inflicts—will likely continue to grow given that two high-profile
    14   infringing services (Omniverse and Set TV Now) were enjoined in July and
    15   November of 2019, and Nitro TV appears poised to continue to receive an influx of
    16 new subscribers seeking another infringing service in light of these shutdowns.
    17 C.    The Balance Of Hardships Tips Sharply In Plaintiffs’ Favor And An
             Injunction Would Servce The Public Interest.
    18
               Before issuing a preliminary injunction, a court “must balance the competing
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         claims of injury and must consider the effect on each party of the granting or
    20
         withholding of the requested relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
    21
         7, 24 (2008) (internal quotation marks and citation omitted). The court must also
    22
         consider whether the issuance of an injunction would be in the public interest. Id.
    23
               As previously discussed, the threat of harm to Plaintiffs is substantial. See
    24
         Section III.D, supra. In contrast, Defendant “cannot complain of the harm that will
    25
         befall it when properly forced to desist from its infringing activities.” Triad Sys.
    26
         Corp. v. Se. Exp. Co., 64 F.3d 1330, 1338 (9th Cir. 1995), superseded by statute on
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         other grounds, 17 U.S.C. § 117(c); see Cadence Design Sys., Inc. v. Avant! Corp.,
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     1   125 F.3d 824, 830 (9th Cir. 1997) (“Where the only hardship that the defendant will
     2   suffer is lost profits from an activity which has been shown likely to be infringing,
     3   such an argument in defense merits little equitable consideration . . . .”) (quotations
     4   and citations omitted); Apple Inc. v. Psystar Corp., 673 F. Supp. 2d 943, 950 (N.D.
     5   Cal. 2009) (“Since [small start-up defendant] does not (and cannot) claim any
     6   legitimate hardships as a result of being enjoined from committing unlawful
     7   activities, and Apple would suffer irreparable and immeasurable harms if an
     8   injunction were not issued, this factor weighs strongly in favor of Apple’s motion.”).
     9         Finally, upholding copyright protection is in the public interest. See Eldred v.
    10   Ashcroft, 537 U.S. 186, 212 n.18 (2002) (“[t]he economic philosophy behind the
    11   [Copyright] [C]lause . . . is the conviction that encouragement of individual effort
    12   by personal gain is the best way to advance public welfare through the talents of
    13   authors and inventors”) (citation omitted); Kelly v. Primco Mgmt., Inc., No. CV-14-
    14   07263 BRO, 2015 WL 10990368 at *16 (C.D. Cal. Jan. 12, 2015) (“[I]t is virtually
    15   axiomatic that the public interest can only be served by upholding copyright
    16   protections . . . .”); see also VidAngel, 869 F.3d at 867 (“[T]he public has a
    17   compelling interest in protecting copyright owners’ marketable rights to their work
    18   and the economic incentive to continue creating television programming and motion
    19   pictures.”) (quotations omitted).
    20         In sum, a preliminary injunction is in the public interest, and the balance of
    21 hardships between the parties supports the issuance of a preliminary injunction.
    22 D.    Temporarily Disabling Defendant’s Websites Is Warranted.
    23         Plaintiffs’ request for an injunction requires temporarily freezing the
    24   TekkHosting.com and NitroIPTV.com domain names used to operate Nitro TV, so
    25   the websites cannot be accessed or transferred during the pendency of this action.
    26   Although Defendant has used an anonymizing service to hide the name of the
    27   registered owner of these domains, the relevant registration records indicate these
    28   domain name registrations have been obtained through the services of Namecheap,
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     1   Inc. and Domain.com LLC. Van Voorn Decl. ¶¶ 36-38, Ex. 20. Where—as here—
     2   infringing websites are operated by defendants who have attempted to elude
     3   identification, the risk is high that when confronted with a lawsuit seeking to stop
     4   their ongoing infringement, the defendants will simply instruct their domain registrar
     5   to transfer their domain name to another registrar not subject to the jurisdiction of
     6   this Court and revive their infringing activities using new servers and infrastructure.
     7   See Arista Records, LLC v. Tkach, 122 F. Supp. 3d 32, 33, 36 (S.D.N.Y. 2015)
     8   (citing N. Face Apparel Corp. v. Fujian Sharing Imp. & Exp. Ltd., No. 10-civ-1630,
     9   slip op. at 1-4, Dkt. 15 (S.D.N.Y. Mar. 2, 2010)) (enforcing injunction involving
    10   domain name registrar to stop defendant’s evasion efforts to continue infringing).
    11         In such situations, courts commonly issue injunctive relief in the form of an
    12   order to the domain name registrar to preclude the transfer of the domain name, and
    13   to render the infringing websites disabled during the pendency of the action, thus
    14   preventing any further illegal use or migration of the infringing domain names and
    15   thereby maintaining the status quo. See, e.g., id.; Dish Network LLC v. Dillion, No.
    16   12CV157 BTM NLS, 2012 WL 368214, at *5 (S.D. Cal. Feb. 3, 2012) (ordering
    17   registrar to transfer the domains of sites illegally streaming copyrighted content to
    18   the plaintiff’s chosen registrar and for the infringing service to cease all operations);
    19   Showtime Networks Inc. v. Doe, No. 2:15-CV-03147-GW-MRW, 2015 WL
    20   12646501, at *2 (C.D. Cal. Apr. 30, 2015) (ordering all “hosts, registrars and name
    21   servers” to “suspend all services with respect to Defendants’ Infringing Websites”
    22   to prevent the illegal streaming at issue). Even where the owner of the domain name
    23   at issue has not yet been specifically identified, this Court has still issued injunctive
    24   relief to ensure that unidentified party(ies) in control of web domains used to infringe
    25   are divested of control over those domains. See TVB Holdings USA Inc. v. Enom
    26   Inc., No. SACV13624JLSDFMX, 2014 WL 12569432, at *1-2 (C.D. Cal. Apr. 22,
    27   2014) (where infringing site’s operator registered web domain under an alias,
    28   ordering registrar to freeze this unknown party’s ability to transfer the domain).
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     1                                  IV.     CONCLUSION
     2          Defendant is engaged in blatant infringement of Plaintiffs’ Copyrighted
     3   Works. His actions in response to legal action against the similarly-infringing Set
     4   TV Now service (which has since been adjudicated to be infringing) were not to
     5   cease his own infringement, but rather, to attempt to go underground to continue his
     6   infringing operation. Defendant and his reseller network threaten irreparable harm
     7   to Plaintiffs.
     8          Plaintiffs respectfully request the Court issue the proposed preliminary
     9   injunctive relief enjoining Defendant, and those acting in concert with him, from
    10   further infringing Plaintiffs’ Copyrighted Works. To effectuate this relief, Plaintiffs
    11   further request that the Court issue an order enjoining the respective domain name
    12   registrars for the TekkHosting.com and NitroIPTV.com domain names (Namecheap,
    13   Inc. and Domain.com LLC) from allowing these domains to be modified, sold,
    14   transferred to another owner, or deleted, and also requiring them to disable access to
    15   TekkHosting.com and NitroIPTV.com.
    16

    17   Dated: April 3, 2020                     JENNER & BLOCK LLP
    18

    19
                                              By: /s/ Julie A. Shepard
                                                  Julie Shepard
    20
                                                  Attorneys for Plaintiffs
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